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 4   Attorneys for Plaintiff,
     CATHY ALGER
 5

 6

 7         UNITED STATES DISTRICT COURT EASTERN DISTRICT OF
                              CALIFORNIA
 8

 9                               SACRAMENTO DIVISION
10
     CATHY ALGER                                ) Case No.: 2:10-cv-03005-WBS-KJN
11                                              )
                  Plaintiff,                    )
12                                              )
           vs.                                  )
13                                              ) NOTICE OF SETTLEMENT
     NCO FINANCIAL SYSTEM, INC.                 )
14                                              )
                    Defendant.                  )
15                                              )
16

17          NOW COMES the Plaintiff, CATHY ALGER, by and through the
18   undersigned counsel and hereby informs the court that a settlement of the present
19   matter has been reached and is in the process of finalizing settlement, which
20   Plaintiff anticipates will be finalized within the next 40 days.
21         Plaintiff therefore requests that this honorable court vacate all dates
22   currently set on calendar for the present matter.
23                                    Respectfully Submitted,
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                                        Notice of Settlement
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 1   DATED: May 26, 2011            KROHN & MOSS, LTD.
 2

 3                                  By: /s/ Nicholas J. Bontrager           _
 4                                           Nicholas J. Bontrager
                                             Attorney for Plaintiff
 5

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 9
                              CERTIFICATE OF SERVICE
10

11         I hereby certify that on May 26, 2011, I electronically filed the foregoing
12   Notice of Settlement with the Clerk of the Court by using the CM/ECF System. I
13   further certify that on May 26, 2011, I served all counsel of record with a copy of
14   this document by way of the CM/ECF system.
15

16

17                                  By:     /s/ Nicholas J. Bontrager _
18                                            Nicholas J. Bontrager, Esq.

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                                      Notice of Settlement
